     Case 3:24-cv-06507-JD            Document 95-1      Filed 05/01/25      Page 1 of 4



 1   RICHARD S.J. HUNG (CA SBN 197425)
     rhung@mofo.com
 2   JONATHAN M. MORRIS (CA SBN 356152)
     jonathanmorris@mofo.com
 3   HOLLY M. PETERSEN (CA SBN 351588)
     hollypetersen@mofo.com
 4   MORRISON & FOERSTER LLP
     425 Market Street
 5   San Francisco, California 94105-2482
     Telephone:    (415) 268-7000
 6   Facsimile:    (415) 268-7522
 7   BITA RAHEBI (CA SBN 209351)
     brahebi@mofo.com
 8   RYAN J. MALLOY (CA SBN 253512)
     rmalloy@mofo.com
 9   MORRISON & FOERSTER LLP
     707 Wilshire Boulevard
10   Los Angeles, California 90017
     Telephone:    (213) 892-5200
11   Facsimile:    (213) 892-5454
12   Attorneys for Plaintiff
     FIGMA, INC.
13

14                                   UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN FRANCISCO DIVISION

17

18   FIGMA, INC.,                                          Case No. 3:24-cv-06507-JD

19                      Plaintiff,                         DECLARATION OF JOHN LAI, PH.D.,
                                                           IN SUPPORT OF FIGMA’S RESPONSE
20          v.                                             STATEMENT TO DEFENDANTS’
                                                           ADMINISTRATIVE MOTION TO
21   MOTIFF PTE. LTD., YUANFUDAO HK                        CONSIDER WHETHER ANOTHER
     LTD., and KANYUN HOLDINGS GROUP                       PARTY’S MATERIALS SHOULD BE
22   CO. LTD.,                                             SEALED (DKT. 85)

23                      Defendants.                        Courtroom: 11, 19th Floor
                                                           Judge: Hon. James Donato
24

25

26

27

28
     LAI DECL. ISO FIGMA’S RESPONSE TO DEFENDANTS’ ADMIN. MOTION TO CONSIDER SEALING (DKT. 85)
     CASE NO. 3:24-CV-06507-JD
     Case 3:24-cv-06507-JD          Document 95-1        Filed 05/01/25      Page 2 of 4



 1          I, John Lai, declare as follows:
 2          1.      My title is Manager, Software Engineering at Figma, Inc. I submit this declaration
 3   in support of Figma’s Response Statement to Defendants’ Administrative Motion to Consider
 4   Whether Another Party’s Materials Should be Sealed based upon matters within my own personal
 5   knowledge. If called to testify, I could and would competently testify to the matters below.
 6          2.      I have been employed at Figma since April 2021. Figma’s flagship software,
 7   Figma Design, enables distributed teams to efficiently collaborate on product designs. My work
 8   is focused on continued development of technical infrastructure and core functionalities of the
 9   Figma Platform so it meets the needs of users worldwide.
10          3.      I understand that Figma moves to seal the below identified portions of Defendants’
11   Request to Consider Declarations Responsive to New Developments in the Case (“Defendants’
12   Request”) and Supplemental Declaration of Cory Plock (“Plock Decl.”).
13
                                           Portion(s) Sought to be
                 Document                                                            Content
14                                                 Sealed

15    Motiff’s Request to Consider                                        Descriptions of how specific
      Declaration Responsive to         Blue highlighted portions of:     platform features are deployed
16    New Developments in the           5:6, 8-11                         based on user access
      Case (“Defendants’ Request”)                                        permissions.
17

18                                      Blue highlighted portions of:
                                        5:6
19                                      26:21-22
      Supplemental Declaration of       27:14-15, 24
20    Cory Plock, Ph.D. ISO             28:1, 8-14, 21-24
                                                                          Detailed descriptions and
      Motiff’s Opposition to            29:1, 4-8, 10, 13, 16-21
21                                                                        analysis of Figma’s
      Figma’s Preliminary               31:20-32:2
                                                                          proprietary source code.
22    Injunction Motion                 32:12, 16
      (“Plock Decl.”)                   33:11-12
23                                      34:4, 6-8, 16-22
                                        35:4-5, 7, 20-22
24                                      36:1, 5-6
25

26          4.      The highlighted portions of Defendants’ Request and the Plock Decl. reference

27   confidential technical information about Figma’s proprietary source code, its architecture, and

28   how specific platform features are deployed based on user access permissions—the disclosure of

     LAI DECL. ISO FIGMA’S RESPONSE TO DEFENDANTS’ ADMIN. MOTION TO CONSIDER SEALING (DKT. 85)
                                                                                                       1
     CASE NO. 3:24-CV-06507-JD
     Case 3:24-cv-06507-JD          Document 95-1        Filed 05/01/25      Page 3 of 4



 1   which would cause Figma to suffer competitive harm by allowing competitors access to such
 2   non-public information. Specifically, the highlighted portions of Defendants’ Request and the
 3   Plock Decl. all reflect confidential source code-related information and other technical details
 4   about the Figma platform—including detailed descriptions and analysis that reflect the structure,
 5   functionality, and implementation of Figma’s source code, revealing sensitive aspects of the
 6   platform’s design, operation, and distribution. Figma’s confidential source code and related
 7   technical details of its platform are highly confidential and proprietary to Figma, and the detailed
 8   source code-related information and analysis contained in these excerpts are not publicly
 9   disclosed or described. Public disclosure of this information would assist Figma’s competitors to
10   advance their own source code and related technical development of their products, harming
11   Figma’s competitive standing in the UI design industry. Figma’s confidentiality interests will be
12   prejudiced if any of the highlighted information in these documents is made public.
13          I declare under penalty of perjury of the laws of the United States that the foregoing is true
14   and correct.
15          Executed May 1, 2025 in San Francisco, California.
16

17                                                         ________________________________
                                                                     John Lai, Ph.D.
18

19

20

21

22

23

24

25

26

27

28
     LAI DECL. ISO FIGMA’S RESPONSE TO DEFENDANTS’ ADMIN. MOTION TO CONSIDER SEALING (DKT. 85)
                                                                                                            2
     CASE NO. 3:24-CV-06507-JD
     Case 3:24-cv-06507-JD           Document 95-1       Filed 05/01/25      Page 4 of 4



 1                             ATTESTATION OF E-FILED SIGNATURE
 2             I, Richard S.J. Hung, am the ECF User whose ID and password are being used to file this
 3   Declaration of John Lai, Ph.D., in Support of Figma’s Response Statement to Defendants’
 4   Administrative Motion to Consider Whether Another Party’s Materials Should be Sealed. In
 5   compliance with Civil L.R. 5-1(i)(3), I hereby attest that John Lai, Ph.D., has concurred in this
 6   filing.
 7

 8   Dated: May 1, 2025                                           /s/ Richard S.J. Hung
                                                                    Richard S.J. Hung
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     LAI DECL. ISO FIGMA’S RESPONSE TO DEFENDANTS’ ADMIN. MOTION TO CONSIDER SEALING (DKT. 85)
                                                                                                         3
     CASE NO. 3:24-CV-06507-JD
